Case 6:24-cv-00437-JDK   Document 66-5   Filed 03/17/25   Page 1 of 5 PageID #: 563




                         Exhibit 4
Case 6:24-cv-00437-JDK   Document 66-5   Filed 03/17/25   Page 2 of 5 PageID #: 564
Case 6:24-cv-00437-JDK   Document 66-5   Filed 03/17/25   Page 3 of 5 PageID #: 565
Case 6:24-cv-00437-JDK   Document 66-5   Filed 03/17/25   Page 4 of 5 PageID #: 566
Case 6:24-cv-00437-JDK   Document 66-5   Filed 03/17/25   Page 5 of 5 PageID #: 567
